September 13, 2005

Lieutenant Darryl Rice
Baton Rouge Police Department
Office of Internal Affairs

REF: Observations of Alleged Misconduct

As per our conversation a.m. hours this morning, this
correspondence is being submitted as a summary/brief, which
will synopsize New Mexico State Police observations of
alleged and potential misconduct on the part of various
officers from the Baton Rouge Police Department. Detailed
correspondence from involved New Mexico State Police
Officers are in draft form. Once satisfactory office
settings: are available (computer - printer) these documents

will be available.

On September 8, 2005, the twenty man contingent of New
Mexico State Police Officers assisting the Louisiana State
Police with Hurricane Katrina relief efforts were assigned
to assist the Baton Rouge Police Department with general

police services. Shift assignments were as follows: Day
Shift 0630 hours through 1830 hours - Night Shift 1830
hours through 0630 hours. Ten officers were assigned to

day shift and ten officers were assigned to night shift.

On the morning of September 9, 2005, at approximately 0600
hours, the ten morning officers reported for duty and were
‘briefed by Captain Rhodes of the Baton Rouge .P.D. At
-approximately 1830, ten officers reported for night shift

assignments. New Mexico State Police shift assignments—

were as follows:

Night Shift

Sgt. Tom Christian _ Off. Greg Hall

Off. Daniel Barde Agt. Shane Arthur
Agt. Richard Williamson Agt. Nathan Lucero
Agt. Patrick Oakley Agt. Joey Gallegos
Agt. Jay Blakeney Agt. Mitchell Maestas

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Day Shift

Sgt. Keith Duncan Sgt. Robert Eshom
Off. Theodore Carr Off. James Frietze
Off. Paul Flores Off. Leonardo Ornelas
Off. Bryan Bird Off. John Lytle

Agt. Sam Hooper Agt. Jeff Rey

On the morning of September 10, 2005, I was quickly briefed
by Sergeant Tom Christian about various concerns our
officers had relative to the conduct of members of the
Baton Rouge Police Department. These concerns were

condensed as follows:

e No probable cause for contact and enforcement

e Physical and unnecessary mistreatment of prisoners and
public ,

° ‘Inappropriate and unprofessional language

® Questionable police practices relative to the location
of evidence - allegedly discarded by a fleeing suspect

At approximately 1120 hours, I traveled to the Michigan
Command Post to confer with Captain Gorski and determine if
Michigan State Police had similar experiences with the
Baton Rouge P.D.° Captain Gorski synopsized his officers
concerns as follows: a

e Racially motivated enforcement

* Inappropriate language

¢ Physical and unnecessary mistreatment of a hand-cuffed
prisoner

-e Officers from Baton Rouge P.D. Offered to let Michigan
Officers beat a prisoner as a thank you for helping
out with relief efforts . .

* Baton Rouge P.D. Officer(s) commented and or implied
that it was their direction to make things as rough as
possible, and discourage people from staying in Baton
Rouge

I advised Captain Gorski that I would de-brief New Mexico
State Police Officers once they awoke..

At approximately 1400 hours, I de-briefed three night
shift officers relative to the previous  .evening’s
occurrences. Their concerns are synopsized as follows:

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* Physical mistreatment of prisoners

e Destruction of private/civilian property

e Forced entry into private residence (unrelated to
current investigations’ or incident at hand) followed
by the arrest, physical mistreatment of a prisoner and
subsequent un-arresting of said prisoner

e Baton Rouge P.D. Officer(s) commented and or implied
that it was. their direction to make things as rough as
possible, and discourage people from staying in Baton
Rouge. One NMSP Officer felt this comment’ was made
with regard to New Orleans gang members that had taken
up residency in Baton Rouge. Others had a different
interpretation (see below) :

At approximately 1600 hours, I made my concerns known to

Louisiana State Police Lt. Martin. Tt was made known
that I preferred that New Mexico State Police Officers be
removed from this assignment; however, based on

notification (short notice) issues I agreed to allow the
September rots 1 night shift contingent to remain on
the assignment. With withdraw considerations in effect.

Withdraw considerations will be detailed in later

correspondence if necessary.

On September 11, 2005, at approximately 0630 hours, I
spoke with NMSP Sergeant Tom Christian (night shift

supervisor); he advised that additional incidents of
concern were brought to his attention by night shift
personnel. These concerns are synopsized as follows:

* General treatment of citizenry based on néighborhood
and perceived societal class

» Mistreatment of violator on traffic stop. Officer
crumbled drivers license - threw it to shoulder and
told violator to go find it

« Physical mistreatment of. cuffed sixteen year old
prisoner/violator - in the presence of Baton Rouge
field supervisors

¢ Failure to perform duties

* Baton Rouge Officer advised “I don’t agree with it,

but as long as my Captain tells us to harass these

people - I’ll do my job.” This was not relative to
the gang element as previously noted

e Miscellaneous stops, searches and contacts absent
cause

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e Unnecessary Tazing of an individual - followed by
that individuals release from custody.

Following this partial de-briefing, I personally contacted
Baton Rouge Police Personnel and simply advised that our
personnel had been reassigned and would not be working the
day or might shift. Louisiana State Police Sergeant Nicole
Kilgore was also contacted and advised that our personnel
were being pulled immediately from this assignment.

On September 11, 2005, the above allegations/observations
were presented in verbal form to the Louisiana State Police
Command Staff, as well as, Chief Lebuff of the Baton Rouge
Police Department.

As previously noted, this correspondence serves only as a
summary of the events and observations of New Mexico State
Police Officers. A more detailed account of observations
can be derived from Officer correspondence. At current, the
New Mexico State Police will not place its personnel in a
working environment with the Baton Rouge Police Department.

If I can be of further assistance my contact information 1s
listed below.

Respectfully,

me

Major Daniel Lopez
NM State Police
Investigations Bureau

Office + 505-827-9078
Cellular 505-469-2545

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

 

 

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DATE: September 13, 2005
FROM: Age

TO: Major Daniel Lopez
SUBJECT: Baton Rouge Police Department

 

On September 9, 2005 1, New Mexico State Police Agent aay was assigned to
- patrol with the Baton Rouge Police Department (BRPD) fram 1800-0600, I observed
what appeared to be several questionable traffic/pedestrian stops, searches, arrests and
uses-of-force. I reported those observations to New Mexico State Police Sergeant Tom
_ Christian and New Mexico State Police Major Dan Lopez. I was instructed to continue
patrolling with the BRPD officers and report any other suspected officer misconduct. I
was also told not to discuss the issues with BRPD officers.

On September 11, 2005 Major Lopez instructed mé to write this correspondence.

One incident occurred at an apartment complex, BRPD Officers were conducting patrol
operations in the area, BRPD Officer Mack and I observed a young man standing near an
partment. We parked our patrol car. As we exited our patrol car the subject began to
» walk away from us. We told him to stop but he disappeared from sight around a corner.
oe" W{¢ pursued him on foot. We were unable to locate him, but believed that he had entered
gb 1 fh apartment within the complex. BRPD Officer Mack and I knocked on several doors,
§ Me pat no one answered. He forced an apartment door open by kicking it in and entered an
1/38 ‘/ apartment to look for the subject. The subject was not inside. However, the resident of
pe that apartment became upset because Officer Mack forced the door. BRPD officers and I
artment. BRPD officers handcuffed him, patted him down and placed him inside a
tL trol car. BRPD officers entered the apartment that the subject was found in and
we searched it. After searching the apartment, the BRPD officers released the subject. 1 do
of not believe that the officers had a search warrant for any of the apartments or an arrest

KU warrant for the subject.

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& knocked 6n other doors and after about 5 minutes, the subject came outside from a nearby
ist”

Another incident occurred at a separate apartment complex. BRPD officers were
conducting patrol operations in the area, BRPF Officer Mack and T observed a man
t sitting in the front, passenger side seat of a parked car in the parking lot. We approached
nal the man. Officer Mack asked the subject to exit the car and began speaking with him.
a4 - Another BRPD officer searched the car and found what appeared to be illegal narcotics
até. 6 undemneath the front seat. The subject stated that the vehicle belonged to his friend, who
‘ hved in a nearby apartment. BRPD officers and T went to the apartment and knocked on
the door. A man answered the door. BRPD officers entered the home and detained the

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man, There were what appeared to be illegal narcotics on top of a coffee table in the
living room. BRPD officers searched the home. The officers took enforcement action,
including issuing summons and arresting the man in the car.

Later during the shift, Officer Mack and ] were patrolling and observed a man riding a
bicycle in the road. He initiated a traffic stop. The subject immediately fled. He jumped
from the bicycle and fled on foot. BRPD officers pursued him. Officer Mack parked but,
leit his patrol car in reverse so, I had to get back into the car and re-park it. BRPD

fficers caught the subject and arrested him, They handcuffed him, brought him back
and placed him inside a patrol car, The subject was injured. I saw a BRPD officer slam a
car door on his legs after he was handcuffed. An officer also sprayed him in the face
with pepper spray after he was secured in the back of the patrol car. I do not know the
name of that officer. Officer Mack went to the truck of his patrol car then walked the
path that the subject fled on. Officer Mack returned from the path with a small handgun.

On several occasions, BRPD officers made traffic and/or pedestrian stops. I observed
numerous stops where BRPD officers did not appear to have probable cause. Officers
routinely searched people and vehicles when they did not appear to have probable cause.

While on patrol, BRPD officers and I were dispatched to a “‘shots-fired” call at the
Renaissance Center. A man fired a handgun at police, who were on foot, then drove
away. When I arrived, there were between 20-50 civilians and 20-30 BRPD officers on -
scene, Police officers were talking io people in the crowd and trying to get-them to go
home, Two men began arguing with one another. One man was a security guard and the
other man appeared to bea customer. The security guard told the man to go home. He
asked the police to tell the man to go home. The customer, who was not a suspect in the
shooting, began arguing with a BRPD officer. The man became verbally abusive and did
not comply with the officer’s commands, The man did not appear to be armed. There
were about 5-6 BRPD officers in the immediate area of the man. The BRPD officer drew
his Taser and “tased” the man. The man fell to the ground. The officer approached the
man while he was on the ground and “tased” bim at least one more time. .

This concludes my correspondence.

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

 

 

DATE: 9-11-2005

TO; Major Dan Lopez

SUBJECT: Baton Rouge Police Department

 

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Both 9/9 and 9/10/05, I was on patrol with Officer Chad King from about 1800 to
2200 hours. Officer King is a good officer but does seem to handle black people

. differently than he would a pretty Caucasian woman. Each time Officer King would
‘make contact with a Caucasian person he would be friendly and pleasant. But when he

spoke to a black person he was very loud, rude and demeaning. On Saturday 9-10-05 we
responded to a possible drug overdose at 12041 Providence Street. The black male was
sitting in a chair in the living room and holding his chest. Officer King asked him what
kind of drags and how much he had taken. The black male told Officer King that he did
ot do drugs: Officer King's demeanor changed and he started yelling at the man to stop
lying and that he could tell the man was a crack addict. EMS came and took vidal signs
and the black male agreed to go to the hospital. While the black male was loaded into the
EMS truck a black female walked up to Officer King and informed she was the wife of
the black male and wanted to know what his condition was. Officer King again got very
rude and started yelling at the female about how he could be fighting crime if he did not
have to respond to calls with stupid people high on drugs. At this time mumerous black
people, the black males' family and children were standing in the parking lot. Officer
King continued to yell and demean the black female about drug use and how it was going
to kill them all. We then went to a good part of town to a coffee shop. Officer King was

quite and pleasant with all the Caucasian customers and especially if the person was a.

female.
On 9-10-05 approximately 2145 hours I started riding with Officer Jim Cuter

~ another good officer who I think has a positive proactive policing demeanor. He made no

biased comments however he did make some inappropriate actions. Officer Cuter had
driven me around the town most of the night showing me the problem areas and the LSU
carpus. We heard a call of shots fired at a club that underage youth used. We went to
the club and I listened to approximately 20 plus officers talk about what had happened.
During this conversation I heard one officer loudly say, "As long as they want us to
harass these people and run them out of town, I will gladly do it". This incident stemmed
from two officers that had responded to a fight in progress. They atived and broke the
fight up. Numerous people were involved and not all were interviewed at this time.
From across the street numerous shots were fired towards the directions of the two police
officer and crowd.

After the officers had talked for quit a while, three to five police cars took off

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with lights eastbound from the club. We followed and found the officers at the
intersection of Pampus and Plank approximately 0200 hours. Numerous youth were
walking eastbound down the street. Officers were exiting their vehicles and grabbing the
kids and throwing them on the hood of unit 1029. The kids were searched and a gun was
located. When the gun was located officers seemed to apply aggressive pressure on
hands, wrist, heads and backs of the youth on the hood, as many of the youths
complained that they were being hurt Each youth was handcuffed, forced to the ground
to sit on their butts and told to cross their legs. The officer driving unit 1029 seemed to
be in charge of investigating and started to question the kids. The first kid gave his name
and DOB. The middle kid made the comment, "Fuck the Police". The officer went
closer to the kid and hit the kid in the head with his note pad. He started yelling at the kid

and struck him numerous more times with the pad of paper. He then turned to. the last kid:

which gave him all the information requested. He turned to the middle kid a second time
and hit him some more with the pad of paper and told him he was a punk and a real man
would tell him his name. I had already walked back, out of ear shot and could not hear
what the middle kid had said, but the officer all of the sudden grabbed the kid by the

we throat and started chocking him. The kid tried to break free and the officer jumped on top
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of him placing his right knee in the handcuffed youth's chest and continuing to choke him
with left hand. The kid was on his back while the officer was on top of him and his
hands were hand cuffed behind his back. The officer bent and tured the kids neck to

y Ae place the kid's left cheek on the ground and held ft in that position with his right knee

ewhile he continued to interrogate the other two kids. He then got off the kid and
forcefully rolled the kid on his chest and told him to not take his face out of the grass.

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, 3A The officer got up and grabbed the third kid, throwing and pushed him to the side and

walked to his unit. The officer looked back and had seen that the middle kid had rolled
only his head to the right side, while still laying flat on the ground. The officer ran over
to the middle kid and started yelling at him to put his face in the grass and kicked him
' three times until the kid complied. During this time J heard the kid yell, "I can't breath".
At this time approximately 20 officers were.on scene. Four of the officers were in green
jump suites and were leaning on a vehicle and laughing about what the officer was doing
to the young kid. Supervisors were on scene and did not stop the officer's actions while
dealing with a 16 year old black male that they had no probable cause to stop, was
illegally searched and had nothing in his position that was illegal.
We then traveled back into district to a place that was earlier pointed out as a
problem area. The first police car turned on its lights and an obviously intoxicated black
¢ was stopped forced to the hood of the patrol unit and searched. He had been
Stopped due to carrying a bottle of beer. The beer was found to not be opened and the
ack male was allowed to walk. The second time was four black males walking down

    
  
 

leave. A third time was that a vehicle had come into the area and was followed by my
temporary partner Jim Cuter. Officer Cutter turned on his lights and stopped the vehicle
without probable cause that I had seen. The driver was taken out of the vehicle and
placed in handcuffs, put in the rear seat of the patrol unit and the passenger placed on the
ground next to the subject vehicle's right rear tire. The vehicle was searched and two
open containers were located.. Both driver and passenger were given citations. The
driver had extremely slwred speech, blood shot watery eyes and a strong odor of both
alcohol and burnt marijuana. The driver staggered as he walked and was obviously
intoxicated. Officer Cuter allowed the driver to get back into his vehicle with his

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e street and they too were forced onto the hood of the vehicle, searched and allowed to .

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passenger and drive away. Lastly, we left that scene and drove around the comer to find
numerous people standing and sitting around two vehicles in the driveway of a residence.
All persons were forced onto the hoods of the patrol units and searched. Both vehicles
were searched and two bags of marijuana and two open containers were located.
Citations were issued and we left the area. As we were leaving the area, Officer Cuter
told/me, "I don’t really like what the Captain is making us do, I do it the best I can and
eal be able to sleep at night, but I really hate what Officer ???7?? did with that kid and J

Aont put up with that crap".

I personally believe that most of the officers of the Baton Rouge Police
Department are good officers that are being directed by their supervisors to crack down
on the public. I don’t know if they have been given any type of direction as to what is
right or wrong as each officer is doing things his own way. I do believe that the province
of Baton Rouge is in dire straights with the almost doubled population, with numerous
relatively new officers and without having the veteran experience to guide them. I do
feel that most of the night officers that I had contact with had some type of comment or
attitude towards black people in general.

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

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DATE: September 11, 2005

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FROM: Agent Richard Williamsosej/

THROUGH: Sergeant Tom Christian

TO: Major Daniel Lopeza-~

SUBJECT: Baton Rouge Police Department

 

On Friday September 9, 2005 I was assigned to work the
night shift in District One in Baton Rouge La, I was
assigned to patrol with Ken Clark. The area was a high
crime concentration area.

Officer Clark and I made contact with a suspicious male
walking down the road way. in an area known for drug
traffic. Ofc. Clark made contact with the subject to I.D.
and check for warrants. The subject was clear of warrants
and began -to protest being detained. He was slammed onto
the hood cuffed and placed in the back of the unit and
detained while the officer wrote two citations for
pedestrian in the roadway and disturbing the peace after
consulting with other officers as to what crimes he could

charge.

The remainder of the evening was spent assisting other
officers with their calls. We assisted other officers with
the closing of two different bars. To clear the juveniles
out. of the area the officers sprayed mace with out warning
at about waist height. The crowd cleared coughing and

sneezing.

Ofe. Clark and I assisted his corporal “Mack” with a
Fleeing suspect call at a large apartment complex. When we
arrived the suspect had ran into an apartment and officers

‘were trying to locate him. The Corporal. kicked in one door

across the breézeway and did not find the suspect. The
resident asked who would fix his door and he was verbally
abused and sent back into his apartment.

The suspect was found in a nearby apartment and removed to

the patrol unit. The apartment was then searched and

“tossed” as was the car believed to belong to the suspect.

The officers met to create reasons for the search and use

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of force, a nearby call for shots fired was applied to this
call when the reason for the contact and chase actually was
because the subject turned and walked away from police with
out talking to them when called.

On a positive note, my time with Officer Bret Hart on the
early shift and on the night of Saturday September 10, 2005
was very positive and professional. Ofc. Hart had seven
arrests and three DWI’s and was very professional and
courteous the entire night.

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

   

 

DATE: September 11, 2005

FROM: Agent Nathan racer —
TO: Major Danial Lopez gl

SUBJECT: Baton Rouge Police Department

 

On Friday, September 9, 2005 I was assigned to work with the Baton Rouge Police
Department in the 3" District. At approximately 10:00 p.m. I was turned over to a new
officer and began to patrol with the unit known as the “Dog Crew”. At this time the
officer began to tell me about how they have gone into the black neighborhoods and have
been beating them down since the Hurricane happened. At this time I began to notice the
officer pointing his spot light in the faces of black civilians telling them “What are you
doing standing in the road, Are you stupid, Get out of the road” and would then drive off.
The black civilians were on the sidewalks and were not bothering anyone.,The officer
continued to describe the residents in these neighborhoods as basically animals.

The officer began to stop vehicles for no apparent reason and would treat the subjects
very rude and would begin to search the vehicle with no probable cause and without
petmission from the driver. The officer would pull the back seat out and pretty much
destroy the vehicle and would tell the driver” Get the hell out of here”, the officer would
not write a citation or explain to the driver what was going on. These types of traffic

" stops occurred several times. At one point we were patrolling and noticed a vehicle
parked at a store putting water in the radiator when the officer pulled behind him. The
officer walked up did not speak to the subjects but began to search inside the vehicle. He
was throwing things around in the vehicle pulling bottles out of the vehicle and pouring
out the contents of it for no reason. By this time the subjects attempted to speak to him
and he stated to them to “Shut up” the officer then pull out a knife and began to poke at
the dash board and then scarped off the registration sticker from the window. At this
time the officer got back into his unit and we drove off not telling the subjects anything.
The officer then stated “That will cost them another $150.00 to get a new registration”,

This officer then contacted another officer and we left the 3" District and went to the 1*
District. We met up with some other officers and at this time J saw Agent Shayne Arthur
were we spoke. We both noticed the samie type of actions oceurring in both Districts.
The officer and I began to patrol inthe 1" District where again the officer would stop
vehicles for no apparent violations and would treat the subjects in the vehicle very rude
and would search the vehicle with no probable cause and then tell them “To get the hell
out of here”. By this time 1 was very disappointed with the actions taking place and |
told the officer that I was tired and I had him drop me off at State Police facility. My
shift was to end at 6:00 a.m. but I ended at 4:30 am.

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On Saturday, September 10, 2005 | was again assigned to work with the Baton Rouge
Police Department in the 3 District. Again at approximately 10:00 p.m. I was tuned
over to the “Dog Crew”. I was with the same officer as the pervious night: We began to
patrol the area when the officer began to spot light black civilians telling them “Are you
stupid, get out of here”. At this point we stopped a vehicle and the officer began to speak
to the driver, 1 walked up and began to talk to the passengers. I turned around and saw
the officer writing a citation and telling him “If you would have kept your mouth shut and
not lied you would not have got this”. The driver told the officer I will be at court, the
oon became upset and bent his drivers license and threw it and told him “Go pick it

* and we left.

At this time we met with other officers and went to the area they call “Tiger Land” this is
an area by the college campus. The area was a white and wealthy neighborhood. The
officers and continued to tell the people “Hello and how are you”, “Have a good night
and be careful”. We left that area and went back to the 1* District were we had again to
spot light black civilians in the face. At one point I asked the officer the speed limit and
explained to him that the vehicle in front was speeding and swerving all over the road.
We stopped the vehicle and made contact with the driver. The driver was intoxicated and
admitted to drinking. The officers stated that they did not fell like dealing with this so.
they got in his vehicle drove across the street and parked it and let the subject go. They
did not cite him for any type of violation. As the night continued on Agent Jay Blakeney
was behind me with the officer he was riding with when a vehicle accident occurred. The
two officers began to talk with the subjects and an ambulance was called. The passenger
of the vehicle that had been hit was taken to the hospital. The driver of the other vehicle
told us he bad been drinking. The officers waited for the other vehicles to leave arid at
this time got into the vehicle drove it and parked it. The officer then told the male subject
to get out of there. I asked them are you going to let him go and they stated yes he just
has mental problems. Agent Blakeney told them hey he had been drinking you can not
let him walk. At that time we saw the subject walking in the middle of the road. The |
subject was called back to the police units and was given a ride home. The subject was
not cited for any type of violation. Agent Blakeney and I then asked the other officer to.
bring us back to the State Police facility.

Both nights I noticed subj ects being stopped for no reason, searches bemg performed
with no probable cause and people civil] nights being violated. I witnessed officers —
referring African Americans as animals and that they needed to be beaten down.

This concluded my involvement with the Baton Rouge Police Department. _

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

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DATE: September 13, 2005

FROM: Agent Patrick Oakley ea

TO: Major Daniel Lopez

SUBJECT: | Baton Rouge Police Department

 

On Saturday, September 10, 2005 [ was assigned to assist the Baton Rouge Police
Department on patrol in the east Baton Rouge area known as District 3. The period of this
patrol was 18:00 hours to 06:00 hours. During the period of 18:00 hours and 23:00 hours
I rode with Jay Lampleyrous in his marked Baton Rouge Patrol vehicle.

On the above date at approximately 22:30 hours Officer Lampleyrous observed a dark in
color Chevrolet Suburban in the parking lot of a shopping mall. The vehicle was in the
parking lot with a smaller four-door sedan. Officer Lampleyrous stated to me that this
activity appeared suspicious in nature. Officer Lampleyrous did not call thé. traffic stop

‘off with his radio dispatch. We approached the vehicle head on and stopped the vehicle in

the parking lot. Officer Lampleyrous determined that the stop was high risk and exited
his vehicle with his weapon drawn. I exited the patrol vehicle and approached the vehicle
with my issued Glock 31 .357 Sig Hand gun drawn given the potential risk of this traffic
stop with a vehicle positioned head on relative to the police unit. I had my issued Glock
handgun pointed at a low ready position at the driver of the vehicle and instructed the
small sedan vehicle with a black female driver to back away from the traffic stop. I
instructed the both the driver and the passenger (front right seat) to put their hands on the
dashboard of the vehicle. Officer Lampleyrous had the subjects (both black adult males)
exit the vehicle and place their hands on the hood of the vehicle. Officer Lampleyrous
searched both subjects and had them standby near the vehicle as he searched the interior
of the vehicle. Officer Lampleyrous recovered two weapons from the front floorboard of
the vehicle, a Keltec 9mm handgun and a Glock 9mm handgun with a loaded 30 round

magazine in the pistol.

Officer Lampleyrous identified both black males as local residents of East Baton Rouge
and one as a storeowner of a hip-hop clothing store located nearby. Officer Lampleyrous
asked the subjects why they were armed and they replied that they had to protect
themselves from the New Orleans gangs. Officer Lampleyrous did not run the subjects or
the weapons through dispatch, nor did he take the weapons into safekeeping even after it
was clear to me that these subjects were armed and actively looking for these New
Orleans gang members. Officer Lampleyrous did not indicate why he searched the
vehicle and lacked reasonable suspicion and probable cause, in my opinion.

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On Saturday, September 10, 2005 at approximately 23:00 hours I rode with Officer Tim
Browning in his marked Baton Rouge Police unit until 05:30. During my patrol with
Officer Browning I observed him execute traffic stops and pedestrian contacts with
subjects with little or no probable cause for the stops. Each time the subjects were
searched and in the case of vehicles, the vehicles were searched.

On Sunday, September 11, 2005 at approximately 1:00 a.m. we arrived in the area of a
disturbance and shooting at a bar called the Renaissance Center-in District 1. Units had
responded to the disturbance and while at the scene shots had been fired in the area, The
suspects had fled the scene, however one subject at the bar had been Tazered in an
unrelated matter. Officer Tim Browning and I drove approximately 1 mile up the street
from the Renaissance Center and came in contact with a Baton Rouge Police Department
traffic stop with 5 police units at the scene. The officers had 5 black males in custody,
two of the subjects were in investigative detention inside police cars while three black
males were instructed to sit in the grass on the shoulder of the roadway with their ankles
crossed. All three of these subjects were handcuffed behind their backs. A white male
Baton Rouge Police officer driving police unit 1029 was asking the three black males for
personal information and writing the information down on a small note pad.

The officer started to interview one of the black males who appeared 16 years old. The
black male refused to provide his identity to the officer at which point the officer began
to hit the black male on the head and face with the note pad repeatedly. The young black
jyavenile male continued to refuse to cooperate at which point the officer placed his right
hand on the subjects throat and pushed him down upon the grass prone, holding the
subject in a prolonged choke hold. The juvenile black male was handcuffed behind his
back, prone on his back with the officer choking him while kneeling on his chest.

The officer sat the subject back up and continued to question him, but the juvenile male
still refused to cooperate. The officer used a pressure point hold on the subjects right jaw
in an effort to make him comply with the questions. The pressure point hold is a
submission hold I am familiar with and is used to contro] and subdue a combative

. subject. This juvenile black male was in custody and not resisting.

While with Officer Tim Browning we retumed to District 3 and began to patrol
predominantly black “title 3” (Browning’s term) subdivisions where we made contact
with several black male subjects walking on foot. Officer Browning made contact with
these subjects with no reasonable suspicion or probable cause, performed pat downs and
extracted items from the pockets of these individuals. Officer Browning referred to these
subjects as “heathens.”

On one traffic stop, the vehicle did not make any unusual driving actions or moving
violations. The vehicle was stopped, searched and the driver cited for open containers.
Again the stop lacked reasonable suspicion or probable cause and the driver was not
advised or cited for the stop.
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| DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL CORRESPONDENCE

 

 

DATE: SEPTEMBER 13, 2005
FROM: OFFICER LEONARDO onnenas\©

TO: MAJOR DAN LOPEZ

SUBJECT: Baton Rouge Police Department

 

Con Friday, September 9, 2005 I was assigned to ride along with Officer

Brian Biletnikoff, District 1, Baton Rouge PD, LA. At approximately
0930 hours, Officer Biletnikoff saw a female walking down a residential
road. He advised me that she was a known prostitute. Officer
Biletnikoff called her over to our location, and asked her where she was
going. I do not recall her response. Officer Biletnikoff then reached for
her purse and asked her what she had in the purse. He then emptied
the contents onto the hood of his unit and found a glass pipe.with white
residue in it. Officer Biletnikoff then patted her down. Officer .
Biletnikoff then asked her if she had any warrants and she said yes.
Officer Biletnikoff then ran a warrants check on her.

During this contact, a second female was walking towards us. Officer
Biletnikoff then asked her if she had a pipe and she said yes, and placed
a Crown Royal bag on his hood. Officer Biletuikoff retrieved the glass
pipe with white residue, Officer Biletnikoff had the first female sit in -
the rear seat of his unit until the warrant could be confirmed. The
second female was issued a summons for the paraphernalia and
released. The first female was placed under arrest upon confirmation of
the warrant and booked at the District 1 office. I was able to read the
officers narrative on the paperwork, and it said that he ran the first
female for warrants first and found the pipe incident to arrest.

While on patrol, Officer Biletnikoff said he wanted to talk to a subject
that he saw on a bicycle that appeared to have money in his hand.
Officer Biletnikoff said the subject was approaching an apartment
complex known for trafficking narcotics. He made a U-turn and slowly
drove towards the complex. The subject on the bike exited the
apartment complex parking lot, and got on the road, Officer Biletnikoff
stopped the subject and asked him what he was doing over there. I

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could not hear his answer to the officer. Officer Biletnikoff then
searched and released the subject.

I also did a ride along with Officer Derek Evans. While on patrol with
Officer Evans he pointed out a male subject on a bicycle. He said that
every time he makes contact with him he has marijuana. Officer Evans
told him to stop. The subject stopped and Officer Evans walked
towards him and advised him to put his hands on his head. The subject
complied, and Officer Evans searched the subject. Officer Evans then
inquired about the bicycle and the subject said it belongs to his niece.
The subject was then released. As the subject was getting on the bike be
was laughing, and saying it was messed up that he got shook down in
the middle of the road.

As we were driving away Officer Evans commented on how some of the
neighborhoods do not mix or get along, but he sees this subject in all
neighborhoods. J cannot recall if this occurred on the September 9" or
10“. The time was approximately 1630 hours.

During my time with these two officers I did not see them become
verbally or physically abusive with anyone they came in contact with.

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DEPARTMENT OF PUBLIC SAFETY
INTRA-DEPARTMENTAL GORRESPONDENCE

   

 

DATE: 9-11-2005
FROM: Agent Jay Blakaney
TO; Major Daniel Lopez

SUBJECT: Baton Rouge Police Department

 

On Friday, September $9, 2005 and on Sunday, September 10, 2005, I
had the opportunity to patrol with two Baton Rouge Police
Officers during the "dog shift". On approximately four. separate
occasions I observed searches of vehicles and personal property
with no probable cause. Officers at these incidents made contact
with black civilians and had them exit the vehicles or personal
property without consent from the owner.

On Sunday, September 11,. 2005 approximately 0200 hours, I
observed a driver stopped for swerving in the road and speeding.
The driver was very intoxicated and admitted to drinking and
driving. Officers called for the "DWI Unit" and the unit was
busy. The officer decided to drive the drunk driver to his
residence which was nearby and parked his vehicle in a nearby

parking lot.

During this shift approximately 0230 hours, the officer I was
assigned to and I were parked in the road waiting for a train to
pass. A driver several cars behind us rear-ended a vehicle
stopped for the train. The driver admitted to have at least five
to six beers. A passenger in the vehicle that was struck was
taken by ambulance to a local hospital. The "DWI Unit" was still
busy so the officers let the drunk driver walk home with no

arrest or citation. Myself and a fellow officer from my
department advised the Baton Rouge Police Officer that it was not
a good. to let the drunk individual walk into traffic. One

officer then decided to pick the drunken individual up and dive
him to an unknown location. We then questioned the officer as to
why the drunken individual was not arrested or cited. They
responded by stating they did not smell any alcohol and the
individual, but admitted he was probably under the influence of

drugs.

JB:3b

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